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 1                           UNITED STATES DISTRICT COURT

 2                                  DISTRICT OF NEVADA

 3 LINDA COX,                                           Case No.: 2:16-cv-02914-APG-VCF

 4        Plaintiff                                    Order Denying Motion for Summary
                                                               Judgment as Moot
 5 v.
                                                                 [ECF No. 122]
 6 RICHLAND HOLDINGS, INC., et al.,

 7        Defendants

 8       In light of the notice of settlement (ECF No. 125),

 9       IT IS ORDERED that defendant Langsdale Law Firm’s motion for summary judgment

10 (ECF No. 122) is DENIED as moot.

11       DATED this 2nd day of July, 2018.

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                                                      ANDREW P. GORDON
                                                      UNITED STATES DISTRICT JUDGE
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